               Case 20-50947-grs                          Doc 2      Filed 06/22/20 Entered 06/22/20 15:17:06                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Phyllis K Graham
                              First Name            Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name      Middle Name          Last Name
 United States Bankruptcy Court for the        EASTERN DISTRICT OF KENTUCKY                                            Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                                                                                                          have been changed.
 (If known)




Local Form 3015-1(a)
Chapter 13 Plan                                                                                                                                          12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

               $1,350.00 each month for sixty (60) months. Debtor's main source of income stems from Pension so she will make
              payments directly to the Trustee each month. Unsecured creditors shall receive 100 percent.

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner:

              Check all that apply:



                          Debtor(s) will make payments pursuant to a payroll deduction order.
                          Debtor(s) will make payments directly to the trustee.
                          Other (specify method of payment):


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2.3 Income tax refunds.
         Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
         Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.



2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $81,000.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

        Check one.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                 The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                 required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                 by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                 disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                 a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                 as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                 below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                 otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                 that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                 by the debtor(s).
 Name of Creditor Collateral                     Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                 payment                   arrearage (if any) on arrearage on arrearage                  total
                                                 (including escrow)                               (if applicable)                        payments by
                                                                                                                                         trustee



                               2 bedroom, 1 1/2
                               bath foundation
                               home and lot
                               located at 508
                               Clayton Avenue,
 US Bank Trust,                Georgetown,                                                 Prepetition:
 NA                            Kentucky 40324.                                $583.00         $20,000.00          0.00%          $476.19            $20,000.00
                                                                     Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 is checked.

                          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                          claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                          secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                          listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each

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                          listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                          of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                          treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                          creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                          property interest of the debtor(s) or the estate(s) until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


 Name of               Estimated             Collateral              Value of     Amount of         Amount of           Interest      Monthly    Estimated
 creditor              amount of                                     collateral   claims senior     secured claim       rate*         payment to total of
                       creditor's                                                 to creditor's                                       creditor   monthly
                       total claim                                                claim                                                          payments
                                              home
                                             located at
                                             508
                                             Clayton
                                             Avenue,
                                             Georgetow
 Capital                                     n,
 One Bank                                    Kentucky
 (USA), NA             $1,567.79             40324.                  $147,500        $74,947           $1,567.79             5%          $47.47           $1,993.59
                                              home and
                                             lot located
                                             at 508
                                             Clayton
                                             Avenue,
                                             Georgetow
 Cavalry                                     n,
 SPV I,                                      Kentucky
 LLC                   $2,831.74             40324.                  $147,500        $64,463           $2,831.74             5%          $85.73           $3,600.80
                                              home and
                                             lot located
                                             at 508
                                             Clayton
                                             Avenue,
 Cityof                                      Georgetow
 Georgeto                                    n,
 wn Public                                   Kentucky
 Works                 $200.00               40324.                  $147,500        $77,315            $200.00              5%           $4.76                 $200.00
                                              home and
                                             lot located
                                             at 508
                                             Clayton
                                             Avenue,
 Main                                        Georgetow
 Street                                      n,
 Acquisitio                                  Kentucky                $147,500.0    $67,295.2
 n Corp                $7,652.17             40324.                  0                     8           $7,652.17           12%          $231.68           $9,730.45
                                             2016
 OneMain                                     Toyota
 Financial             $13,141               Corolla                 $7,575.00         $0.00         $13,141.00          0.00%          $312.88                 $13,141




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 Name of               Estimated             Collateral              Value of          Amount of         Amount of          Interest     Monthly    Estimated
 creditor              amount of                                     collateral        claims senior     secured claim      rate*        payment to total of
                       creditor's                                                      to creditor's                                     creditor   monthly
                       total claim                                                     claim                                                        payments
                                             home and
                                             lot located
                                             at 508
                                             Clayton
                                             Avenue,
 Scott                                       Georgetow
 County                                      n,
 Sheriff's                                   Kentucky
 Office                $800.00               40324.                  $147,500             $76,515             $800.00          12%          $24.22           $1,017.27

Insert additional claims as needed.

* If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax claim shall be
paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed, notwithstanding any contrary provision of the
plan

 3.3         Secured claims excluded from 11 U.S.C. § 506.

                       Check one.
                        None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                        The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                          proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                          the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                          payments disbursed by the trustee rather than by the debtor(s).

 Name of Creditor                    Collateral                            Amount of claim             Interest rate*    Monthly plan     Estimated total
                                                                                                                         payment          payments by trustee
 Fitzpatrick
 Furniture                           secured by furniture                  $1,872.00                         0.00%              $44.57                       $1,872.00
                                                                                                                         Disbursed by:
                                                                                                                            Trustee
                                                                                                                            Debtor(s)

Insert additional claims as needed.

* If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points.

3.4          Lien avoidance.

             Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

                          Check one.
                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6          All Other Secured Claims.
             An allowed secured claim not provided for in the plan shall be classified in a junior class of secured claims that will be paid through the
             plan on a pro rata basis with all other allowed secured claims in the class. Each allowed claim in the class will be paid to the extent of the
             value of the collateral set forth in the Creditor’s proof of claim or the amount of the allowed claim, whichever is less, with interest at the

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             WSJ Prime Rate on the date of confirmation or the date on which the proof of claim is filed, whichever is later, plus 2 percentage points, or
             if a secured tax claim with interest at the applicable statutory rate in effect on the date on which the plan is confirmed. Allowed
             administrative expenses shall be paid in full prior to distribution to this class of secured claims.

 Part 4:      Treatment of Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 7.00% of plan payments; and
             during the plan term, they are estimated to total $5,670.00.

4.3          Attorney's fees.

             1.            Counsel for the debtor requests compensation as follows:
                           a.    Pursuant to KYEB LBR 2016-2(a) an attorney’s fee for Debtor’s counsel shall be allowed in the amount of $3,500.00 (not
                           to exceed $3,500). Of this amount, the debtor paid $0.00 prior to the filing of the petition, leaving a balance of $3,500.00 to be
                           paid through the plan. (The Debtor/Attorney for Debtor have complied with KYEB LBR 2016-2(a) and this must match the Rule
                           2016(b) Disclosure of Compensation of Attorney For Debtor(s)). Any additional requests for fees or expenses will be requested
                           by separate application.

             OR

                           b.      An attorney’s fee for Debtor’s counsel will be requested by separate application and shall be paid as allowed by the Court.

             2.            Until the allowed attorney’s fee is paid in full, creditors holding secured claims (including arrearage claims) shall be paid only
                           adequate protection payments ordered by the Court.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                     The debtor(s) estimate the total amount of other priority claims to be $0.00

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $
                    % of the total amount of these claims, an estimated payment of $
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                  If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $63,235.52
                  Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

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                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Except as provided in Part 8, property of the estate in the possession of the debtor(s) and properly scheduled will vest in the
           debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

7.2          Unless otherwise ordered, the trustee retains all lien avoidance rights provided by statute.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signature(s):

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below.
 X /s/ Phyllis K Graham                                                X
     Phyllis K Graham                                                                 Signature of Debtor 2
     Signature of Debtor 1

       Executed on            May 28, 2020                                            Executed on

 X     /s/ Julie Ann O'Bryan                                                   Date     May 28, 2020
       Julie Ann O'Bryan
       1717 Alliant Avenue Suite 17
       Louisville, KY 40299
       502.339.0222
       julie@obryanlawoffices.com
       Signature and Address of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form 3015-1(a), other than any nonstandard
provisions included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.     Maintenance and cure payments on secured claims (Part 3, Section 3.1 total):                                                                                              $20,000.00

 b.     Modified secured claims (Part 3, Section 3.2 total):                                                                                                                      $29,683.11

 c.     Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total):                                                                                                   $1,872.00

 d.     Judicial liens or security interests partially avoided (Part 3, Section 3.4 total):                                                                                            $0.00
 e.     Fees and priority claims (Part 4 total):                                                                                                                                   $9,170.00
 f.     Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount):                                                                                                $20,021.21

 g.     Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                                                     $0.00

 h.     Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                                                                $0.00

 i.     Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                                                          $0.00
 j.     Nonstandard payments (Part 8, total)                                                                                                               +                              $0.00


 Total of lines a through j....................................................................................................................................                   $80,746.32




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